Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 1 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 2 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 3 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 4 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 5 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 6 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 7 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 8 of 24
Case 22-81109-CRJ7   Doc 14    Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                              Document     Page 9 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 10 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 11 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 12 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 13 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 14 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 15 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 16 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 17 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 18 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 19 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 20 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 21 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 22 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 23 of 24
Case 22-81109-CRJ7   Doc 14 Filed 07/12/22 Entered 07/12/22 08:55:36   Desc Main
                           Document    Page 24 of 24
